Case 2:05-Cr-20221-BBD Document 13 Filed 07/20/05 Page 1 of 2 Page|D 12

IN THE UNITED STATES DISTRICT COURT
F()R THE WESTERN DISTRIC'I` ()F TENNESSEE
WESTERN DIVISION

 

UNITED STATES OF AMERICA

V.

MARK A. TAYLOR 05cr20221~B

 

ORDER ON ARRAIGNMENT

 

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This cause came to be heard on O¢//£h 201 200 the United States Attorney
for this district appeared on behalf of the go#nmeng and the defendant appeared in person and with

counsel:

NAME U'Q-Cl¢;/ Y' ""V\-»W Wh0 is Retained/Appointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

Al| motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a Distn'ct Judge, such period is extended

The defendant, Wh0 is not in custody, may stand on his present bond.
I: The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held without bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal.
’<Q.¢¢/»uj /(/' ZGW/W&"

UNITED STATES MAGISTRATE ]UDGE

CHARGES: conspiracy to distribute controlled substance - 21:846
Attorney assigned to Case: T. Colthurst

Age= lig

 

UNITED sATE DISTRICT COURT - WTERN DISTRCT OFTENNESSEE

   

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Jeffrey J ones
JONES LAW FIRM
6540 Stage

Bartlett7 TN 3 8134

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

